        Case 1:01-cv-12257-PBS Document 6777 Filed 12/18/09 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


In re: PHARMACEUTICAL INDUSTRY                           )
AVERAGE WHOLESALE PRICE                                  )   MDL No. 1456
LITIGATION                                               )
                                                         )   Civil Action No. 01-12257-PBS
                                                         )
THIS DOCUMENT RELATES TO:                                )   Subcategory No. 06-11337-PBS
                                                         )
United States of America ex rel. Ven-a-Care of           )   Hon. Patti B. Saris
the Florida Keys, Inc. v. Abbott Laboratories,           )
Inc., Civil Action No. 06-11337-PBS;                     )
                                                         )
United States of America ex rel. Ven-a-Care of           )
the Florida Keys, Inc. v. Dey, Inc., et al., Civil       )
Action No. 05-11084-PBS; and                             )
                                                         )
United States of America ex rel. Ven-a-Care of           )
the Florida Keys, Inc. v. Boehringer Ingelheim           )
Corp., et al., Civil Action No. 07-10248-PBS             )

   DECLARATION OF SUSAN SCHNEIDER THOMAS SUBMITTING EXHIBITS
 RELIED UPON IN VEN-A-CARE OF THE FLORIDA KEYS, INC.’S SURREPLY TO
THE RESPONSES OF ABBOTT, DEY AND ROXANE TO THE VEN-A-CARE OF THE
  FLORIDA KEYS, INC.’S COMBINED OPPOSITION TO MOTIONS TO DISMISS
                 FILED BY ABBOTT, DEY AND ROXANE

       I, Susan Schneider Thomas, do hereby declare as follows:

       1.      I am a shareholder at the firm of Berger & Montague, P.C., co-counsel for

plaintiff Ven-A-Care of the Florida Keys, Inc.

       2.      Attached hereto as Exhibit A is a listing of the exhibits filed with Ven-A-Care of

the Florida Keys Inc.’s Combined Surreply to the Responses of Abbott, Dey and Roxane to the

Ven-A-Care Of The Florida Keys, Inc.’s Combined Opposition to Motions to Dismiss Filed by

Abbott, Dey and Roxane. Those exhibits, incorporated herein by reference, are true and correct

copies of the documents described in the attached list.



                                                     1
       Case 1:01-cv-12257-PBS Document 6777 Filed 12/18/09 Page 2 of 3




      3.     I declare under penalty of perjury the foregoing is true.


Dated: December 18, 2009                    Respectfully submitted,
Philadelphia, PA
                                            /s/        Susan Schneider Thomas
                                                  Susan Schneider Thomas
                                                  BERGER & MONTAGUE, P.C.
                                                  1622 Locust Street
                                                  Philadelphia, PA 19103
                                                  Tel: 215-875-3000




                                                  2
       Case 1:01-cv-12257-PBS Document 6777 Filed 12/18/09 Page 3 of 3




                              CERTIFICATE OF SERVICE
       I hereby certify that on December 18, 2009, I caused a true and correct copy of the
Declaration of Susan Schneider Thomas Submitting Exhibits Relied Upon in Ven-A-Care of the
Florida Keys Inc.’s Combined Surreply to the Responses of Abbott, Dey and Roxane to the Ven-
A-Care Of The Florida Keys, Inc.’s Combined Opposition to Motions to Dismiss Filed by
Abbott, Dey and Roxane to be served via LEXIS File & Serve electronic filing service pursuant
to CMO #2 in this case.




                                          .   /s/ Susan Schneider Thomas   .




                                               Susan Schneider Thomas
                                               Berger & Montague, P.C.




                                              3
